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                                         1   WOODRUFF, SPRADLIN & SMART, APC
                                             CAROLINE A. BYRNE – State Bar No. 196541
                                         2   cbyrne@wss-law.com
                                             555 Anton Boulevard, Suite 1200
                                         3   Costa Mesa, California 92626-7670
                                             Telephone: (714) 558-7000
                                         4   Facsimile: (714) 835-7787
                                         5   Attorneys for Defendants CITY OF GARDEN GROVE, a public
                                             entity and OFFICER BOBBY ANDERSON, an employee of City of
                                         6   Garden Grove, a public entity
                                         7
                                         8                                 UNITED STATES DISTRICT COURT
                                         9                             CENTRAL DISTRICT OF CALIFORNIA
                                        10
                                        11   ANA MARIE BETANZO; DOMENICO                      CASE NO: 8:20-cv-01790 JFW (ADSx)
                                             DISANZO; MIGUEL DISANZO-
                                        12   GRAHAM; KRISTJANA GRAHAM                         BEFORE THE HONORABLE
                                             guardian ad litem for M.D., a minor;             JOHN F. WALTER
                                        13   individually and successors in interest to       COURTROOM 7A
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                                             VIC DISANZO, deceased,
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                                        14                                                    [DISCOVERY DOCUMENT;
                                                             Plaintiffs,                      REFERRED TO MAGISTRATE
                                        15
                                             v.                                               PROTECTIVE ORDER
                                        16
                                             CITY OF GARDEN GROVE; BOBBY
                                        17   ANDERSON, an individual,
                                                                                              HEARING DATES PENDING:
                                        18                   Defendants.                      Type: Final Pretrial Conference
                                                                                              Date: February 4, 2022
                                        19                                                    Time: 8:00 a.m.
                                        20                                                    Type:   Hearing on Motions in Limine,
                                                                                                      Disputed Jury Instructions
                                        21                                                    Date:   February 11, 2022
                                                                                              Time:   8:00 a.m.
                                        22
                                                                                              Type:   Trial
                                        23                                                    Date:   February 22, 2022
                                                                                              Time:   8:30 a.m.
                                        24
                                        25               Plaintiffs ANA MARIE BETANZO; DOMENICO DISANZO; MIGUEL
                                        26   DISANZO-GRAHAM; KRISTJANA GRAHAM guardian ad litem for M.D., a
                                        27   minor; individually and successors in interest to VIC DISANZO, deceased and
                                        28   Defendants CITY OF GARDEN GROVE, a public entity and OFFICER BOBBY
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                                         1   ANDERSON, an employee of City of Garden Grove, a public entity, by and through
                                         2   their respective counsel, hereby stipulate and agree as follows:
                                         3   1.          PURPOSES AND LIMITATIONS
                                         4               Disclosures and discovery activity in this action are likely to involve production
                                         5   of confidential or private information for which special protection from public
                                         6   disclosure and from use for any purpose other than prosecuting and defending this
                                         7   litigation may be warranted. Accordingly, the parties hereby stipulate to and petition
                                         8   the Court to enter the following Stipulated Protective Order. The parties acknowledge
                                         9   that this Order does not confer blanket protections on all disclosures or responses to
                                        10   discovery and that the protection it affords from public disclosure and use extends
                                        11   only to the limited information or items that are entitled to confidential treatment
                                        12   under the applicable legal principles. The parties further acknowledge, as set forth in
                                        13   Section 12.3, below, that this Stipulated Protective Order does not entitle any party to
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                                        14   file confidential information under seal; the Local Rules set forth the procedures that
                                        15   must be followed and the standards that will be applied when a party seeks permission
                                        16   from the court to file material under seal. The parties agree that this protective order
                                        17   does not waive the parties’ rights to object to discovery demands or requests for
                                        18   documents and/or information.
                                        19   2.          DEFINITIONS
                                        20               2.1   Challenging Party: A Party or Non-Party that challenges the designation
                                        21   of information or items under this Order.
                                        22               2.2   “CONFIDENTIAL” Information or Items: Information, documents
                                        23   (regardless of how generated, stored or maintained), or tangible things that qualify for
                                        24   protection under Federal Rule of Civil Procedure 26(c).
                                        25               2.3   Counsel (without qualifier): Outside Counsel of Record and House
                                        26   Counsel (as well as their support staff).
                                        27               2.4   Designating Party: A Party or Non-Party that designates information,
                                        28   documents, or items that it produces in disclosures or in responses to discovery as
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                                         1   “CONFIDENTIAL.”
                                         2               2.5   Disclosure or Discovery Material: All items, regardless of the medium or
                                         3   manner in which they are generated, stored, or maintained (including, among other
                                         4   things, disclosures, discovery responses, testimony, transcripts, and tangible things),
                                         5   that are produced, disclosed, or provided in disclosures or discovery in this matter.
                                         6               2.6   Expert: A person with specialized knowledge or experience in a matter
                                         7   pertinent to the litigation who has been retained by a Party or its counsel to serve as an
                                         8   expert witness or as a consultant in this action.
                                         9               2.7   House Counsel: Attorneys who are employees of a party to this action.
                                        10   House Counsel does not include Outside Counsel of Record or any other outside
                                        11   counsel.
                                        12               2.8   Non-Party: Any natural person, partnership, corporation, association, or
                                        13   other legal entity not named as a Party to this action.
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                                        14               2.9   Outside Counsel of Record: Attorneys who are not employees of a party
                                        15   to this action but are retained to represent or advise a party to this action and have
                                        16   appeared in this action on behalf of that party or are affiliated with a law firm which
                                        17   has appeared on behalf of that party.
                                        18               2.10 Party: Any party to this action, including all of its officers, directors,
                                        19   employees, consultants, retained experts, and Outside Counsel of Record (and their
                                        20   support staffs).
                                        21               2.11 Producing Party: A Party or Non-Party that produces Disclosure or
                                        22   Discovery Material in this action.
                                        23               2.12 Professional Vendors: Persons or entities that provide litigation support
                                        24   services (e.g., photocopying, videotaping, translating, preparing exhibits or
                                        25   demonstrations, and organizing, storing, or retrieving data in any form or medium)
                                        26   and their employees and subcontractors.
                                        27               2.13 Protected Material: Any Disclosure or Discovery Material that is
                                        28   designated as “CONFIDENTIAL,” including any copies, summaries, excerpts, or
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                                         1   compilations thereof.
                                         2               2.14 Receiving Party: A Party that receives Protected Material.
                                         3   3.          SCOPE
                                         4               The protections conferred by this Stipulation and Order cover not only
                                         5   Protected Material (as defined above), but also (1) any information copied or extracted
                                         6   from Protected Material; (2) all copies, excerpts, summaries, or compilations of
                                         7   Protected Material; and (3) any testimony, conversations, or presentations by Parties
                                         8   or their Counsel that might reveal Protected Material. The protections conferred by
                                         9   this Stipulation and Order do not cover the following information: (a) any information
                                        10   that is in the public domain at the time of disclosure to a Receiving Party or becomes
                                        11   part of the public domain after its disclosure to a Receiving Party as a result of
                                        12   publication not involving a violation of this Order, including becoming part of the
                                        13   public record through trial or otherwise; and (b) any information known to the
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                                        14   Receiving Party prior to the disclosure or obtained by the Receiving Party after the
                                        15   disclosure from a source who obtained the information lawfully and under no
                                        16   obligation of confidentiality to the Designating Party. Any use of Protected Material
                                        17   at trial shall be governed by a separate agreement or order.
                                        18   4.          DURATION
                                        19               Even after final disposition of this litigation, the confidentiality obligations
                                        20   imposed by this Order shall remain in effect until a Designating Party agrees
                                        21   otherwise in writing or a court order otherwise directs. Final disposition shall be
                                        22   deemed to be the later of (1) dismissal of all claims and defenses in this action, with or
                                        23   without prejudice; and (2) final judgment herein after the completion and exhaustion
                                        24   of all appeals, rehearings, remands, trials, or reviews of this action, including the time
                                        25   limits for filing any motions or applications for extension of time pursuant to
                                        26   applicable law.
                                        27   ///
                                        28   ///
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                                         1   5.          DESIGNATING PROTECTED MATERIAL
                                         2               5.1   Exercise of Restraint and Care in Designating Material for Protection.
                                         3   Each Party or Non-Party that designates information or items for protection under this
                                         4   Order must take care to limit any such designation to specific material that qualifies
                                         5   under the appropriate standards. The Designating Party must designate for protection
                                         6   only those parts of material, documents, items, or oral or written communications that
                                         7   qualify, so that other portions of the material, documents, items, or communications
                                         8   for which protection is not warranted are not swept unjustifiably within the ambit of
                                         9   this Order.
                                        10               If it comes to a Designating Party’s attention that information or items that it
                                        11   designated for protection do not qualify for protection, that Designating Party must
                                        12   promptly notify all other Parties that it is withdrawing the mistaken designation.
                                        13               5.2   Manner and Timing of Designations. Except as otherwise provided in
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                                        14   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                                        15   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                                        16   under this Order must be clearly so designated before the material is disclosed or
                                        17   produced.
                                        18               Designation in conformity with this Order requires:
                                        19               (a)   for information in documentary form (e.g., paper or electronic
                                        20   documents, but excluding transcripts of depositions or other pretrial or trial
                                        21   proceedings), that the Producing Party affix the legend “CONFIDENTIAL-
                                        22   PRODUCED PURSUANT TO PROTECTIVE ORDER” to each page that contains
                                        23   protected material. If only a portion or portions of the material on a page qualifies for
                                        24   protection, the Producing Party also must clearly identify the protected portion(s)
                                        25   (e.g., by making appropriate markings in the margins).
                                        26               A Party or Non-Party that makes original documents or materials available for
                                        27   inspection need not designate them for protection until after the inspecting Party has
                                        28   indicated which material it would like copied and produced. During the inspection and
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                                         1   before the designation, all material made available for inspection shall be deemed
                                         2   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
                                         3   copied and produced, the Producing Party must determine which documents, or
                                         4   portions thereof, qualify for protection under this Order. Then, before producing the
                                         5   specified documents, the Producing Party must affix the “CONFIDENTIAL” legend
                                         6   to each page that contains Protected Material. If only a portion or portions of the
                                         7   material on a page qualifies for protection, the Producing Party also must clearly
                                         8   identify the protected portion(s) (e.g., by making appropriate markings in the
                                         9   margins).
                                        10               (b)   for testimony given in deposition or in other pretrial or trial proceedings,
                                        11   that the Designating Party identify on the record, before the close of the deposition,
                                        12   hearing, or other proceeding, all protected testimony.
                                        13               (c)   for information produced in some form other than documentary form,
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                                        14   and for any other tangible items, that the Producing Party affix in a prominent place
                                        15   on the exterior of the container or containers in which the information or item is stored
                                        16   the legend “CONFIDENTIAL-PRODUCED PURSUANT TO PROTECTIVE
                                        17   ORDER.” If only a portion or portions of the information or item warrant protection,
                                        18   the Producing Party, to the extent practicable, shall identify the protected portion(s).
                                        19               5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
                                        20   failure to designate qualified information or items does not, standing alone, waive the
                                        21   Designating Party’s right to secure protection under this Order for such material.
                                        22   Upon timely correction of a designation, the Receiving Party must make reasonable
                                        23   efforts to assure that the material is treated in accordance with the provisions of this
                                        24   Order.
                                        25   6.          CHALLENGING CONFIDENTIALITY DESIGNATIONS
                                        26               6.1   Timing of Challenges. Any Party or Non-Party may challenge a
                                        27   designation of confidentiality at any time. Unless a prompt challenge to a Designating
                                        28   Party’s confidentiality designation is necessary to avoid foreseeable, substantial
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                                         1   unfairness, unnecessary economic burdens, or a significant disruption or delay of the
                                         2   litigation, a Party does not waive its right to challenge a confidentiality designation by
                                         3   electing not to mount a challenge promptly after the original designation is disclosed.
                                         4               6.2   Meet and Confer. The Challenging Party shall initiate the dispute
                                         5   resolution process by providing written notice of each designation it is challenging
                                         6   and describing the basis for each challenge. To avoid ambiguity as to whether a
                                         7   challenge has been made, the written notice must recite that the challenge to
                                         8   confidentiality is being made in accordance with this specific paragraph of the
                                         9   Protective Order. The parties shall attempt to resolve each challenge in good faith and
                                        10   must begin the process by conferring directly within 14 days of the date of service of
                                        11   notice. In conferring, the Challenging Party must explain the basis for its belief that
                                        12   the confidentiality designation was not proper and must give the Designating Party an
                                        13   opportunity to review the designated material, to reconsider the circumstances, and, if
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                                        14   no change in designation is offered, to explain the basis for the chosen designation. A
                                        15   Challenging Party may proceed to the next stage of the challenge process only if it has
                                        16   engaged in this meet and confer process first, or establishes that the Designating Party
                                        17   is unwilling to participate in the meet and confer process in a timely manner.
                                        18               6.3   Judicial Intervention. If the Parties cannot resolve a challenge without
                                        19   court intervention, the Challenging Party may file a motion challenging a
                                        20   confidentiality designation at any time if there is good cause for doing so, including a
                                        21   challenge to the designation of a deposition transcript or any portions thereof. Any
                                        22   motion brought pursuant to this provision must be accompanied by a competent
                                        23   declaration affirming that the movant has complied with the meet and confer
                                        24   requirements imposed by the preceding paragraph.
                                        25               Frivolous challenges, and those made for an improper purpose (e.g., to harass or
                                        26   impose unnecessary expenses and burdens on other parties) may expose the
                                        27   Challenging Party to sanctions. All parties shall continue to afford the material in
                                        28   question the level of protection to which it is entitled under the Producing Party’s
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                                         1   designation until the court rules on the challenge.
                                         2   7.          ACCESS TO AND USE OF PROTECTED MATERIAL
                                         3               7.1   Basic Principles. A Receiving Party may use Protected Material that is
                                         4   disclosed or produced by another Party or by a Non-Party in connection with this case
                                         5   only for prosecuting, defending, or attempting to settle this litigation. Such Protected
                                         6   Material may be disclosed only to the categories of persons and under the conditions
                                         7   described in this Order. When the litigation has been terminated, a Receiving Party
                                         8   must comply with the provisions of section 13 below (FINAL DISPOSITION).
                                         9               Protected Material must be stored and maintained by a Receiving Party at a
                                        10   location and in a secure manner that ensures that access is limited to the persons
                                        11   authorized under this Order.
                                        12               7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
                                        13   otherwise ordered by the court or permitted in writing by the Designating Party, a
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                                        14   Receiving Party may disclose any information or item designated “CONFIDENTIAL”
                                        15   only to:
                                        16               (a)   the Receiving Party’s Outside Counsel of Record in this action, as well as
                                        17   employees of said Outside Counsel of Record to whom it is reasonably necessary to
                                        18   disclose the information for this litigation and who have signed the “Acknowledgment
                                        19   and Agreement to Be Bound” that is attached hereto as Exhibit A;
                                        20               (b)   the officers, directors, and employees (including House Counsel) of the
                                        21   Receiving Party to whom disclosure is reasonably necessary for this litigation and
                                        22   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                        23               (c)   Experts (as defined in this Order) of the Receiving Party to whom
                                        24   disclosure is reasonably necessary for this litigation and who have signed the
                                        25   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                                        26               (d)   the court and its personnel;
                                        27               (e)   court reporters and their staff, professional jury or trial consultants, mock
                                        28   jurors, and Professional Vendors to whom disclosure is reasonably necessary for this
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                                         1   litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
                                         2   (Exhibit A);
                                         3               (f)   during their depositions, witnesses in the action to whom disclosure is
                                         4   reasonably necessary and who have signed the “Acknowledgment and Agreement to
                                         5   Be Bound” (Exhibit A), unless otherwise agreed by the Designating Party or ordered
                                         6   by the Court. Pages of transcribed deposition testimony or exhibits to depositions that
                                         7   reveal Protected Material must be separately bound by the court reporter and may not
                                         8   be disclosed to anyone except as permitted under this Stipulated Protective Order; and
                                         9               (g)   the author or recipient of a document containing the information or a
                                        10   custodian or other person who otherwise possessed or knew the information.
                                        11               7.3   All “CONFIDENTIAL” information produced shall not be used other
                                        12   than in the instant case in any deposition, legal proceeding, for media
                                        13   use/dissemination, or in any other forum, nor shall the “CONFIDENTIAL”
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                                        14   information be disseminated in any form, except by court order, or until such time as
                                        15   the “CONFIDENTIAL” designation is removed by agreement of counsel for the
                                        16   parties or by further order of this court.
                                        17   8.          PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                                        18               IN OTHER LITIGATION
                                        19               If a Party is served with a subpoena or a court order issued in other litigation
                                        20   that compels disclosure of any information or items designated in this action as
                                        21   “CONFIDENTIAL,” that Party must:
                                        22               (a)   promptly notify the Designating Party, in writing. Such notification shall
                                        23   include a copy of the subpoena or court order;
                                        24               (b)   promptly notify, in writing, the party who caused the subpoena or order
                                        25   to issue in the other litigation that some or all of the material covered by the subpoena
                                        26   or order is subject to this Protective Order. Such notification shall include a copy of
                                        27   this Stipulated Protective Order; and
                                        28   ///
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                                         1               (c)   cooperate with respect to all reasonable procedures sought to be pursued
                                         2   by the Designating Party whose Protected Material may be affected.
                                         3               If the Designating Party timely seeks a protective order in the action in which
                                         4   the subpoena or order was issued, the Party served with the subpoena or court order
                                         5   shall not produce any information designated in this action as “CONFIDENTIAL”
                                         6   before a determination by the court from which the subpoena or order issued, unless
                                         7   the Party has obtained the Designating Party’s permission. The Designating Party
                                         8   shall bear the burden and expense of seeking protection in that court of its confidential
                                         9   material – and nothing in these provisions should be construed as authorizing or
                                        10   encouraging a Receiving Party in this action to disobey a lawful directive from
                                        11   another court.
                                        12   9.          A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                                        13               PRODUCED IN THIS LITIGATION
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                                        14               (a)   The terms of this Order are applicable to information produced by a Non-
                                        15   Party in this action and designated as “CONFIDENTIAL.” Such information
                                        16   produced by Non-Parties in connection with this litigation is protected by the
                                        17   remedies and relief provided by this Order. Nothing in these provisions should be
                                        18   construed as prohibiting a Non-Party from seeking additional protections.
                                        19               (b)   In the event that a Party is required, by a valid discovery request, to
                                        20   produce a Non-Party’s confidential information in its possession, and the Party is
                                        21   subject to an agreement with the Non-Party not to produce the Non-Party’s
                                        22   confidential information, then the Party shall:
                                        23                     (1)   promptly notify the Requesting Party and the Non-Party, in
                                        24                           writing, that some or all of the information requested is subject to a
                                        25                           confidentiality agreement with a Non-Party;
                                        26                     (2)   promptly provide the Non-Party with a copy of the Stipulated
                                        27                           Protective Order in this litigation, the relevant discovery request(s),
                                        28                           and a reasonably specific description of the information requested;
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                                         1                           and
                                         2                     (3)   make the information requested available for inspection by the
                                         3                           Non-Party.
                                         4               (c)   If the Non-Party fails to object or seek a protective order from this court
                                         5   within 14 days of receiving the notice and accompanying information, the Receiving
                                         6   Party may produce the Non-Party’s confidential information responsive to the
                                         7   discovery request. If the Non-Party timely seeks a protective order, the Receiving
                                         8   Party shall not produce any information in its possession or control that is subject to
                                         9   the confidentiality agreement with the Non-Party before a determination by the court.
                                        10   Absent a court order to the contrary, the Non-Party shall bear the burden and expense
                                        11   of seeking protection in this court of its Protected Material.
                                        12   10.         UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                                        13               If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
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                                        14   Protected Material to any person or in any circumstance not authorized under this
                                        15   Stipulated Protective Order, the Receiving Party must immediately (a) notify the
                                        16   Designating Party, in writing, of the unauthorized disclosures, (b) use its best efforts
                                        17   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
                                        18   persons to whom unauthorized disclosures were made of all the terms of this Order,
                                        19   and (d) request such person or persons to execute the “Acknowledgment and
                                        20   Agreement to Be Bound” that is attached hereto as Exhibit A.
                                        21   11.         INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                                        22               PROTECTED MATERIAL
                                        23               When a Producing Party gives notice to Receiving Parties that certain
                                        24   inadvertently produced material is subject to a claim of privilege or other protection,
                                        25   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                                        26   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                                        27   may be established in an e-discovery order that provides for production without prior
                                        28   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
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                                         1   parties reach an agreement on the effect of disclosure of a communication or
                                         2   information covered by the attorney-client privilege or work product protection, the
                                         3   parties may incorporate their agreement in the stipulated protective order submitted to
                                         4   the court.
                                         5   12.         MISCELLANEOUS
                                         6               12.1 Right to Further Relief. Nothing in this Order abridges the right of any
                                         7   person to seek its modification by the court in the future.
                                         8               12.2 Right to Assert Other Objections. By stipulating to the entry of this
                                         9   Protective Order, no Party waives any right it otherwise would have to object to
                                        10   disclosing or producing any information or item on any ground not addressed in this
                                        11   Stipulated Protective Order. Similarly, nothing in this Protective Order shall be
                                        12   deemed as a waiver of objections previously asserted in response to any discovery
                                        13   requests in this litigation. Finally, no Party waives any right to object on any ground to
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                                        14   use in evidence of any of the material covered by this Protective Order.
                                        15               12.3 Filing Protected Material. Without written permission from the
                                        16   Designating Party or a court order secured after appropriate notice to all interested
                                        17   persons, a Party may not file in the public record in this action any Protected Material.
                                        18   A Party that seeks to file under seal any Protected Material must comply with the
                                        19   applicable Local Rules and General Orders. Protected Material may only be filed
                                        20   under seal pursuant to a court order authorizing the sealing of the specific Protected
                                        21   Material at issue. If a Receiving Party’s request to file Protected Material under seal is
                                        22   denied by the court, then the Receiving Party may file the information in the public
                                        23   record unless otherwise instructed by the court.
                                        24               Notwithstanding this provision, Counsel are entitled to retain an archival copy
                                        25   of all pleadings, discovery, motion papers, trial, deposition, and hearing transcripts,
                                        26   legal memoranda, correspondence, deposition and trial exhibits, expert reports,
                                        27   attorney work product, and consultant and expert work product, even if such materials
                                        28   contain Protected Material. Any such archival copies that contain or constitute
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                                         1   Protected Material remain subject to this Protective Order as set forth in Section 4
                                         2   (DURATION).
                                         3               IT IS SO ORDERED.
                                         4
                                         5   DATED: ________________
                                                      March 4, 2021               ______________________________________
                                                                                      /s/ Autumn D. Spaeth
                                                                                  HONORABLE AUTUMN D. SPAETH
                                         6                                        MAGISTRATE JUDGE OF THE UNITED
                                         7                                        STATES DISTRICT COURT

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WOODRUFF, SPRADLIN

                     ATTORNEYS AT LAW
                        COSTA MESA
    & SMART




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                                        Case 8:20-cv-01790-JFW-ADS Document 24 Filed 03/04/21 Page 14 of 15 Page ID #:207




                                         1                                        PROOF OF SERVICE
                                         2                       STATE OF CALIFORNIA, COUNTY OF ORANGE
                                         3        I am over the age of 18 and not a party to the within action; I am employed by
                                             WOODRUFF, SPRADLIN & SMART in the County of Orange at 555 Anton
                                         4   Boulevard, Suite 1200, Costa Mesa, CA 92626-7670.
                                         5       On March 3, 2021, I served the foregoing document(s) described as
                                             [PROPOSED] PROTECTIVE ORDER
                                         6
                                             :           by placing the true copies thereof enclosed in sealed envelopes addressed as
                                         7               stated on the attached mailing list;
                                         8               (BY MAIL) I placed said envelope(s) for collection and mailing, following
                                                         ordinary business practices, at the business offices of WOODRUFF,
                                         9               SPRADLIN & SMART, and addressed as shown on the attached service list,
                                                         for deposit in the United States Postal Service. I am readily familiar with the
                                        10               practice of WOODRUFF, SPRADLIN & SMART for collection and processing
                                                         correspondence for mailing with the United States Postal Service, and said
                                        11               envelope(s) will be deposited with the United States Postal Service on said date
                                                         in the ordinary course of business.
                                        12
                                             :           (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
                                        13               electronically filed using the Court’s Electronic Filing System which constitutes
WOODRUFF, SPRADLIN

                     ATTORNEYS AT LAW




                                                         service of the filed document(s) on the individual(s) listed on the attached
                        COSTA MESA
    & SMART




                                        14               mailing list.
                                        15               (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for
                                                         collection following ordinary business practices, at the business offices of
                                        16               WOODRUFF, SPRADLIN & SMART, and addressed as shown on the attached
                                                         service list, for collection and delivery to a courier authorized by
                                        17               ________________________ to receive said documents, with delivery fees
                                                         provided for. I am readily familiar with the practices of WOODRUFF,
                                        18               SPRADLIN & SMART for collection and processing of documents for
                                                         overnight delivery, and said envelope(s) will be deposited for receipt by
                                        19               ________________________ on said date in the ordinary course of business.
                                        20               (BY FACSIMILE) I caused the above-referenced document to be transmitted
                                                         to the interested parties via facsimile transmission to the fax number(s) as stated
                                        21               on the attached service list.
                                        22               (BY PERSONAL SERVICE) I delivered such envelope(s) by hand to the
                                                         offices of the addressee(s).
                                        23
                                             :           (Federal) I declare that I am employed in the office of a member of the bar of
                                        24                         this court at whose direction the service was made. I declare under
                                                                   penalty of perjury that the above is true and correct.
                                        25
                                                         Executed on March 3, 2021, at Costa Mesa, California.
                                        26
                                        27                                                             /s/ Laura F. Perez
                                                                                                       LAURA F. PEREZ
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                                         1            ANA MARIE BETANZO, et al. v. CITY OF GARDEN GROVE, et al.
                                         2                    USDC, CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NO. 8:20-cv-01790 JFW (ADSx)
                                         3
                                                                  ASSIGNED FOR ALL PURPOSES TO
                                         4                         HONORABLE JOHN F. WALTER
                                                                         COURTROOM 7A
                                         5
                                                                            SERVICE LIST
                                         6
                                         7   Dale K. Galipo, Esq.                    Attorneys for Plaintiffs
                                             Ranhee Lee, Esq.                        ANA          MARIE         BETANZO;
                                         8   LAW OFFICES OF DALE K. GALIPO           DOMENICO DISANZO; MIGUEL
                                             21800 Burbank Blvd., Suite 310          DISANZO-GRAHAM;          KRISTJANA
                                         9   Woodland Hills, CA 91367                GRAHAM guardian ad litem for M.D.,
                                             Telephone: (818) 347-3333               a minor; individually and successors in
                                        10   Facsimile: (818) 347-4118               interest to VIC DISANZO, deceased
                                             Email: dalekgalipo@yahoo.com
                                        11          rlee@galipolaw.com
                                        12   Scott D. Hughes, Esq.                   Attorneys for Plaintiffs
                                             SCOTT D. HUGHES, APLC                   ANA          MARIE         BETANZO;
                                        13   620 Newport Center Drive, Suite 1100    DOMENICO DISANZO; MIGUEL
WOODRUFF, SPRADLIN




                                             Newport Beach, CA 92660                 DISANZO-GRAHAM;          KRISTJANA
                     ATTORNEYS AT LAW
                        COSTA MESA




                                             Telephone: (714) 423-6928               GRAHAM guardian ad litem for M.D.,
    & SMART




                                        14
                                             Facsimile: (714) 845-0030               a minor; individually and successors in
                                        15   Email: scott@scotthugheslaw.com         interest to VIC DISANZO, deceased

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                                        17   1/4/21


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